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                                                        THE HONORABLE BARBARA J. ROTHSTEIN
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 5                               UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   KENNETH WRIGHT, on his own behalf and
     on behalf of other similarly situated persons,       Case No. 2:14−cv−00421−BJR
 9
                                           Plaintiff,
10                                                        DECLARATION OF DONALD W.
                                                          HEYRICH IN SUPPORT OF PLAINTIFF’S
11          v.
                                                          MOTION FOR APPROVAL OF SERVICE
     LYFT, INC., a Delaware corporation,                  AWARD AND ATTORNEYS’ FEES AND
12
                                                          COSTS
13          Defendant.

14

15          I, Donald W. Heyrich, declare as follows:
            1. I am an attorney of record for Plaintiff Kenneth Wright and the certified class. I
16
     have personal knowledge of the matters set forth herein and if called to do so I could and would
17
     testify competently under oath. This declaration supplements the information set forth in the
18
     Declaration of Donald W. Heyrich in Support of Plaintiff’s Unopposed Motion for Preliminary
19
     Approval of Class Action Settlement (Dkt. #91), and is submitted in support of Plaintiff’s
20
     Motion for Approval of Service Award and Attorneys’ Fees and Costs.
21
            2.       Class Counsel represented Plaintiff and the Class on a contingency-fee basis. In
22
     taking this case, my firm, along with Stutheit Kalin LLC, risked that we would never obtain
23
     any payment for the extensive time we performed on the case, as well as extensive expert costs,
24
     a potentially expensive trial, and lost opportunity costs due to the time we needed to devote to
25

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      DECLARATION OF DONALD W. HEYRICH                                          HKM ATTORNEYS
      (Case No. 2:14-cv-00421-BJR) - 1                                     600 Stewart Street, Suite 901
                                                                            Seattle, Washington 98101
                                                                                  (206) 838-2504
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 1   the case. We also faced the risk of losing a jury trial and the risk that any recovery could be

 2   delayed for years by an appeal. For small law firms such as ours, these risks are significant.

 3           3.       The following chart identifies the attorneys who worked on behalf of class counsel in

 4   this case, assigns a reasonable hourly rate for each attorney, and sets forth the number of hours

 5   worked by each individual, the amount of fees for each individual, and the total fees for class counsel

 6   as a whole.

 7

 8                                   HKM Employment Attorneys LLP
                     Attorney                     Hours     Rate              Amount
 9                   Donald Heyrich               547.3    $685             $374,900.50
10                   Jason Rittereiser             19.6    $505              $9,898.00
                     Rachel Emens                  5.9     $425              $2,507.50
11                   Mara Brandes                  11.9    $295              $3,510.50
12                                                        TOTAL             $390,816.50

13                                           Stutheit Kalin LLC
14                   Attorney                          Hours    Rate   Amount
                     Peter Stutheit                     17.6    $600 $10,560.00
15                   Kyann Kalin                        59.8    $600 $35,880.00
16                                                             TOTAL $46,440.00

17                                       Masters Law Group
18                   Attorney                     Hours    Rate   Amount
                     Ken Masters                   78.3    $575 $45,022.50
19                   Shelby R. Frost Lemmel        11.7    $495  $5,791.50
20                   Tamra J. Cole                 23.7    $295  $6,991.50
                                                         TOTAL $57,805.50
21

22
                                         Sound Justice Law Group
23                   Attorney                         Hours   Rate   Amount
24                   Albert H. Kirby                   41.3   $685 $28,290.50
                                                             TOTAL $28,290.50
25

26                                                 LOADSTAR TOTAL $512,792.50

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 1           4.       The applied rates are based on a variety of factors, including among others, the

 2   experience, skill and sophistication required for the types of legal services performed, and the

 3   experience, reputation and ability of the attorneys. In addition, the applied rates take into account the

 4   reasonable hourly rates applied in similar cases in the Western District of Washington. In this context,

 5   more than 8 years ago, rates for attorneys in the Western District of Washington in class action

 6   litigation were approved in a range of $415 to $760 per hour. See Pelletz v. Weyerhaeuser Co., 592 F.

 7   Supp. 2d 1322, 1326 (W.D. Wash. 2009) (finding the prevailing rate for similarly situated attorneys in

 8   Seattle working on consumer protection class actions is $415 to $760 per hour). More recently, in

 9   March 2017, another judge in this district in a TCPA case applied a rate of $725 per hour to an

10   attorney with similar experience as the undersigned, and applied rates overall ranging from $425 to

11   $725. Joseph v. TrueBlue, Inc., Case No. 3:14-cv-05963-BHS (W.D. Wash.).

12           5.       Rates for HKM Employment Attorneys LLP. The loadstar calculation set forth above

13   applies a rate of $685 for my time on the case. I am the lead attorney from HKM in the instant

14   litigation. My background and my significant litigation and class action experience is set forth

15   in my prior declaration, at Dkt. #91. I was approved at a rate of $685 in a TCPA and CEMA

16   case brought in this Court. Gragg v. Orange Cab Co., Case No. 2:12-cv-00576-RSL (W.D.

17   Wash.). I also have been approved at this rate by the court in McKiernan v. Act Fast Delivery of

18   Washington, No. 16-2-03389-0 SEA (King County Superior Court) and Anderson v. Reed Hein &

19   Associates, LLC, Case No. 2:16-cv-00785-RSL (W.D. Wash).

20           6.       The lodestar calculation assigns a rate of $505 for time worked by attorney

21   Jason Rittereiser, a managing partner in HKM Employment Attorneys LLP’s Seattle office. Mr.

22   Rittereiser graduated from the University of Washington in 2006 and DePaul University

23   College of Law in 2010. Prior to joining HKM, he worked as a Deputy Prosecuting Attorney

24   for the King County Prosecuting Attorney’s Office. He has been recognized by Washington

25   Super Lawyers as a “Rising Star” (2017-2019) and was recognized as the Outstanding Young

26   Lawyer of the Year by the King County Bar Association (2017). Since joining HKM, he has

27

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 1   represented or currently represents plaintiffs in multiple class actions in addition to this one.

 2   These include Carson v. AMD Kashi Inc., et al., King County Superior Court Case No. 17-2-

 3   29644-9 SEA; Yi v. The Kroger Co., King County Superior Court Case No. 14-2-19935-0;

 4   Stevenson et al. v. Pactera Technologies, Inc., King County Superior Court Case No. 16-2-

 5   3148-0; Town et al. v. Cascade Hospitality, LLC, King County Superior Court Case No. 14-2-

 6   28148-0; Anderson et al. v. Reed Hein, Case No. 2:16-cv-00785-RSL (W.D. Wash.); and

 7   McKiernan et al. v. Act Fast, King County Superior Court Case No. 16-2-03389-0.

 8          7.       The lodestar calculation assigns a rate of $425 for time worked by attorney

 9   Rachel Emens. Ms. Emens was previously approved at a rate of $400 by the court in

10   McKiernan v. Act Fast Delivery of Washington, No. 16-2-03389-0 SEA (King County Superior

11   Court) and Anderson v. Reed Hein & Associates, LLC, Case No. 2:16-cv-00785-RSL (W.D.

12   Wash). Ms. Emens is a senior associate at HKM Employment Attorneys LLP and will be

13   recognized by Washington Super Lawyers as a “Rising Star” for 2019. During law school Ms.

14   Emens served as an extern to United States District Court Judge Thomas S. Zilly. Prior to

15   joining HKM, Ms. Emens had a combined eight years of experience as legal assistant, summer

16   associate, and contract attorney at Winterbauer & Diamond PLLC, a boutique litigation firm.

17   Ms. Emens has served as counsel in class actions, including Stevenson et al. v. Pactera

18   Technologies, Inc., No. 16-2-3148-0 (King County Superior Court); Monaco v. D.A. Davidson

19   Companies, Case No. 5:16-cv-00332 SJO (DTB (C.D. Cal.); Carson v. AMD Kashi Inc. et al,

20   No. 17-2-29644-9 SEA (King County Superior Court); and Yi et. al v. The Kroger Co., et al.,

21   Case No. 14-2-19935-O-SEA (King County Superior Court).

22          8.       The lodestar calculation assigns a rate of $295 for time worked by attorney Mara

23   Brandes. Ms. Brandes graduated from law school in 2008 and clerked for the Honorable

24   Carolyn Kuhl in the Complex Division of the Los Angeles County Superior Court. She then

25   worked as an associate for Ogletree, Deakins, Bash, Smoak & Stewart.

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 1           9.       Rates for Stutheit Kalin LLC. The lodestar calculation assigns a rate of $600 for

 2   time worked by attorneys Peter Stutheit and Kyann Kalin. Mr. Stutheit graduated from the

 3   University of Pennsylvania Law School in 2001 and has been a member of the Washington bar

 4   since 2002. Prior to forming his own firm in 2008, he worked for law firms in Seattle and

 5   Portland, including Perkins Coie LLP and Yarmuth Wilson. His partner, Kyann Kalin,

 6   graduated from the Boalt Hall at the University of California - Berkeley in 2000. Prior to

 7   joining Stutheit Kalin LLC in 2013, she worked at Perkins Coie LLP and Ongaro Burt P.C.

 8   (and successor firms) and worked on numerous class actions for publicly traded companies.

 9   Together, Mr. Stutheit and Ms. Kalin have represented plaintiffs in dozens of class action cases.

10           10.      Rates for Masters Law Group. The Masters Law Group specializes in appellate

11   litigation and represented plaintiffs in connection with the questions that were certified in this case to

12   the Washington Supreme Court. Ken Masters has practiced law for 27 years. Most of that time has

13   been spent on appellate work. He also served as clerk for the Honorable Elaine Houghton, ret. He is

14   admitted to practice in the United States Supreme Court, the Washington State Supreme Court, the

15   United States Court of Appeals for the Ninth Circuit, and the United States District Court for the

16   Western District of Washington. Shelby R. Frost Lemmel, has practiced law for over 15 years,

17   almost exclusively as an appellate attorney. She is admitted to practice in the United States Supreme

18   Court, the Washington State Supreme Court, the United States Court of Appeals for the Ninth Circuit,

19   and the United States District Court for the Western District of Washington. Tamra J. Cole is an

20   attorney who has been admitted to practice law in Washington since 2009 and in California from

21   2004-2013 (voluntarily resigned). She worked as an attorney from 2004-2010, and as a paralegal for

22   the Seattle City Attorney’s Office from 2010-2017, when she joined Masters Group.

23           11.      Rates for Sound Justice Law Group. The lodestar calculation assigns a rate of

24   $685 for time worked by attorney Albert Kirby. He previously was approved at a rate of $685

25   in a TCPA and CEMA case brought in this Court. Gragg v. Orange Cab Co., Case No. 2:12-

26   cv-00576-RSL (W.D. Wash.).

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 1          12.     In addition to the loadstar amount, HKM Employment Attorneys LLP and

 2   Stutheit Kalin LLC incurred out-of-pocket case expenses in the total amount of $20,764.06.

 3   Theseexpenses included filing fees, process servers, mediation fees, and other similar expenses

 4   reasonably incurred in the prosecution of this case. An itemized list of these costs is attached

 5   hereto as Exhibit A.

 6

 7          I declare under penalty of perjury that the foregoing is true and correct.

 8          Executed on February 13, 2019, in Chicago, Illinois.

 9
                                   /s/ Donald W. Heyrich, WSBA #23091
10                                 Donald W. Heyrich, WSBA #23091
                                   HKM ATTORNEYS
11                                 600 Stewart Street, Suite 901
                                   Seattle, WA 98101
12                                 Tel: (206) 838-2504
                                   Fax: (206) 260-3055
13                                 Email: dheyrich@hkm.com
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                                                                                   (206) 838-2504
               Case 2:14-cv-00421-BJR Document 94 Filed 02/13/19 Page 7 of 7



                                     DECLARATION OF SERVICE
 1
            I certify that on this date I filed the foregoing document via the ECF system which will
 2
     serve a copy on the counsel listed below:
 3

 4                          Archis A. Parasharami
                            MAYER BROWN LLP
 5                          1999 K Street N.W.
                            Washington, D.C. 20016
 6                          Tel: (202) 263-3000
                            Fax: (202) 263-3300
 7                          Email: aparasharami@mayerbrown.com
 8
                            BYRNES KELLER CROMWELL LLP
 9                          Bradley S. Keller, WSBA #10665
                            Keith D. Petrak, WSBA #19159
10
                            1000 Second Avenue, 38th Floor
11                          Seattle, WA 98104
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12                          Facsimile: (206) 622-2522
                            Email: bkeller@byrneskeller.com
13                                  cmam@byrneskeller.com
14

15                  Dated: February 13, 2019.
16

17                                                        /s/ Donald W. Heyrich
                                                          Donald W. Heyrich, WSBA #23091
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